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                       Exhibit D

           Form of Confidentiality Agreement
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

BOY SCOUTS OF AMERICA AND                                      Case No. 20-10343 (___)
DELAWARE BSA, LLC,1
                                                               (Jointly Administered)
Debtors.


                   PERMITTED PARTY CONFIDENTIALITY AGREEMENT

This Agreement (the “Agreement”) is entered into as of ____________, 2020 by ____________
(the “Recipient”), a Permitted Party pursuant to paragraph 5 of the Order, Pursuant to 11 U.S.C.
§ 502(b)(9), Bankruptcy Rules 2002 and 3003(c)(3), and Local Rules 2002-1(e), 3001-1, and
3003-1, for Authority to (I) Establish Deadlines for Filing Proofs of Claim, (II) Establish the
Form and Manner of Notice Thereof, (III) Approve Procedures for Providing Notice of Bar Date
and Other Important Information to Abuse Victims, and (IV) Approve Confidentiality Procedures
for Abuse Victims [Docket No. [●]] (the “Bar Date Order”) entered on [●] by the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) in Case No. 20-10343
(___), In re Boy Scouts of America and Delaware BSA, LLC (the “Chapter 11 Cases”).

WHEREAS, the Recipient will be granted access to confidential Abuse Proof of Claim Forms
filed in the Chapter 11 Cases after execution of this Agreement pursuant to and in accordance
with the terms of the Order;

WHEREAS, Recipient agrees to keep the information provided in any and all Abuse Proof of
Claim Forms confidential pursuant to and in accordance with the terms of the Order and this
Agreement.

NOW THEREFORE, IT IS AGREED AS FOLLOWS:

         (1)      The Recipient agrees to keep the information provided in the Abuse Proof of
                  Claim Forms confidential pursuant to and in accordance with the terms of the
                  Order.

         (2)      Recipient agrees to not distribute any Abuse Proof of Claim Forms or information
                  provided in the Abuse Proof of Claim Forms in violation of the Confidentiality
                  Protocol in the Order.

         (3)      Recipient will only communicate information from the confidential Abuse Proof
                  of Claim Forms with other Permitted Parties, as defined in the Bar Date Order.

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 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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      (4)    Recipient consents to the jurisdiction of the Court to adjudicate any violation of
             this Agreement or the Order.

      (5)    Recipient shall promptly report any disclosure of information from a confidential
             Abuse Proof of Claim Form to the Debtor and the any official committee
             appointed in the Chapter 11 Cases to represent holders of Abuse Claims, and shall
             cooperate with efforts to recover the information and/or mitigate the effects of the
             disclosure.


Dated: This __ day of _________, 2020


      Signature:                               ______________________________________

      Print Name:                              ______________________________________

      Name of Permitted Party:                 ______________________________________




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